
LEIGH and NICHOLAS, J.,
also dissented from the opinion of the majority of the court.
Judgment — that the circuit superior court erred in refusing to quash the last three counts of the indictment; *therefore, judgment reversed; and this court proceeding to give such judgment as *746the circuit superior court ought to have rendered on the prisoner’s motion to quash the last three counts of the indictment, it is considered that the said last three counts be quashed, &amp;c.
And it appearing that the prisoner had been removed to the penitentiary according to the sentence of the circuit superior court, a habeas corpus was awarded, directed to the superintendent of the penitentiary, to bring the prisoner before this court; upon the return of which, the court committed him to the jail of Henrico county, to be thence conveyed by the sheriff of Henrico to the jail of Kanawha, and delivered to the custody of the jailor thereof, in order that' the prisoner should have a new trial on the first four counts of the indictment.
